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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


MICHAEL MILLER,                                  :   CIVIL ACTION NO. 1:24-CV-14
                                                 :
                      Plaintiff,                 :   Magistrate Judge Susan E. Schwab
                                                 :
               v.                                :
                                                 :
COUNTY OF LANCASTER, ET AL.,                     :
                                                 :
                      Defendant.                 :


                                    ENTRY OF DEFAULT

       Default is hereby entered against defendant, OFFICE OF OPEN RECORDS, for failure
to file an answer and/or otherwise plead, pursuant to Rule 55(a) of the Federal Rules of Civil
Procedure.




                                                     Peter J. Welsh, Clerk of Court
                                                     by: s/ SHAWNA CIHAK
                                                     Deputy Clerk
Dated: 2/05/2024
